Under the facts, the petition to intervene should have been granted by the district court. "In equity, although no one is entitled to be made or to become a party to the suit who has not an interest therein, and although the general rule is that a stranger to the suit will not be permitted on his own application to become a party, the courts are quite liberal, both from a desire to do no injustice and from a desire to do complete justice, in allowing the intervention of parties whose rights will be directly affected by their decree." (21 C.J. *Page 151 
341; Floyd v. Sellers, 7 Colo. 491, 44 P. 371; CambriaIron Co. v. Union Trust Co. of St. Louis, 154 Ind. 291,55 N.E. 745, 56 N.E. 665, 48 L.R.A. 41; Gibson v. Farrell,77 Kan. 454, 94 P. 783; Schnick v. Morris, (Tex.Civ.App.)24 S.W.2d 491; Paine v. Copper Bell Min. Co., 13 Ariz. 406,114 P. 964.)
In Engdahl v. Laverty, 110 Neb. 672, 194 N.W. 862, the following law is laid down: "The statute permitting intervention before trial, as a matter of right, does not prevent a court of equity in the exercise of discretion in furtherance of justice from allowing intervention after the trial is begun." And in the case of People's Bank of Jacksonville v. Virginia Bridge Iron Co., 94 Fla. 474, 113 So. 680, it is said: "As a general rule after litigation has progressed to final judgment, or decree, even though sale has not yet been had thereunder, it is too late for third persons to be allowed to intervene as parties to the litigation, but this rule is not without its exceptions in cases where under the circumstances, the interest of justice required that leave to intervene be granted." (See, also, Knopf
v. Chicago Real Estate Board, 173 Ill. 196, 50 N.E. 658;Richfield Oil Co. v. Western Machinery Co., 279 Fed. 852.)
Counsel for respondents contends that the application to this court for a writ of supervisory control was not made in time, for the reason that more than six months has expired since the order denying the petition for intervention was made. Counsel premises his argument by contending that since no time is specified in the Constitution or the Codes of the state of Montana within which an application for supervisory control is made, the rules with respect to an appeal should by analogy be adopted. Some cases are cited by counsel apparently holding that applications for writ of certiorari to the supreme court must be made within the time allowed for an appeal, but not one case is cited where any court has ever prescribed a limitation of time within which an appellate court may exercise supervisory control over a lower court.
Section 2 of Article VIII of the Constitution of Montana provides that the supreme court "shall have a general supervisory *Page 152 
control over all inferior courts under such regulations and limitations as may be prescribed by law." No regulations or limitations have been prescribed either by rules of this court or by legislative enactment. The procedure for all other remedies is prescribed either by rule of court or statutory provision, or both, but the framers of the Constitution and the various legislatures of the state have seen fit to reserve the common-law jurisdiction of supervisory control to the supreme court without any limitations, regulations or restrictions whatever.
It is very apparent from the following authorities: Kendall
v. United States ex rel. Stokes, 12 Pet. (U.S.) 524,9 L. Ed. 1181, State ex rel. Whiteside v. First Judicial DistrictCourt, 24 Mont. 539, 63 P. 395, and in State ex rel. MonettMilling Co. v. Neville, 157 Mo. 386, 57 S.W. 1012, 51 L.R.A. 95, that the general supervisory control of the supreme court of the state is not beset by any limitations as to the time in which the court will exercise this power. However, since the remedy by mandamus is similar in a good many respects to the remedy by writ of supervisory control, it would seem to follow that, if any limitations whatever are applied in a proceeding where the supervisory power of this court is appealed to, the general statutes of limitations will be looked to to guide the court in determining whether or not the application was timely.
The court has no jurisdiction to review by writ of supervisory control the judgment and order complained of, after the time for appeal from the judgment has expired. Authorization for the writ of supervisory control is found in section 2, Article VIII, of the Constitution of Montana, providing that the supreme court "shall have a general supervisory control over all inferior courts under such regulations and limitations as may be prescribed by law." The legislature is, therefore, authorized to prescribe the "regulations and limitations" under *Page 153 
which the writ may be issued. The only legislative Act imposing regulations or limitations upon its issuance is found in section 8882, Revised Codes 1921, reading as follows: "When jurisdiction is, by the Constitution or this Code, or any other statute, conferred on a court or judicial officer, all the means necessary to carry into effect are also given; and in the exercise of this jurisdiction, if the course of proceeding be not specifically pointed out by this Code or the statute, any suitable process or mode of proceeding may be adopted which may appear most conformable to the spirit of this Code." Jurisdiction to issue the writ is, therefore, limited to such "process or mode of proceeding * * * which may appear most conformable to the spirit of this Code." (State ex rel. Whiteside v. First JudicialDistrict Court, 24 Mont. 539, 63 P. 395.)
Since the period for appeal from the judgment is limited to six months after date of entry (sec. 9732, Id.), review of the judgment by writ of supervisory control ought to be limited to the same period of time; otherwise review by supervisory control is not "conformable" to the process or mode provided by law for review by appeal. (See 4 Cal. Jur. 1062; 11 Id. 146; Keys v.Marin County Supervisors, 42 Cal. 252; Reynolds v. SuperiorCourt, 64 Cal. 372, 28 P. 121; Smith v. Superior Court,97 Cal. 348, 32 P. 322.) "While the statute fixes no time within which the writ of review must be applied for, we have held by analogy that the writ must be applied for within the time fixed for taking an appeal." (State ex rel. Tumwater etc. Co. v.Superior Court, 56 Wash. 287, 105 P. 815; State ex rel.Lowary v. Superior Court, 41 Wash. 450, 83 P. 726; State exrel. Alexander v. Superior Court, 42 Wash. 684, 85 P. 673.)
Furthermore, the writ is obviously intended to control the action of the inferior court only in matters pending before the court. A district court can have no power or authority to do anything except in matters pending before it. Under the express provisions of section 9821, Revised Codes, the case of Ke-SunOil Co. v. Sunburst Oil  Refining Co. is no longer *Page 154 
pending in the respondent court. The purpose of this statute is to prescribe a definite period of time when the judgment becomes final and conclusive. (Brackett v. Banegas, 99 Cal. 623,34 P. 344.) Since the judgment has become a finality, by lapse of time for taking an appeal therefrom, respondents respectfully submit that it would be inconsistent with the policy of the law, as found in section 9821 above quoted, to permit the judgment to be now disturbed by a review thereof under a writ of supervisory control.
If the court takes the view that the time for application of the writ is not limited to the six months' period allowed for appeal from final judgment, the relator is nevertheless chargeable with laches and unreasonable delay, in view of his unexplained failure to apply for the writ for more than one year after entry of the order complained of. (4 Cal. Jur. 1062; 11 C.J. 146; 4 Ency. Pl.  Pr. 236, 239; 5 R.C.L. 264.) "The fact that an appeal was actually taken clearly did not extend the time for making an application for a writ of certiorari." (State exrel. Blackman v. Superior Court, 82 Wash. 134, 143 P. 889.)
Since the application to intervene was not brought on for hearing until the case was reached for trial, and since the granting of such application would necessarily involve the delay in the trial of the action, and the intervention would be of no avail to relator unless the default of Oil Well Supply Company, through which the relator claimed to have derived his interest, were set aside, the trial court properly denied the petition to intervene. (Sec. 9088, Rev. Codes 1921; Safely v. Caldwell,17 Mont. 184, 42 P. 766, 52 Am. St. Rep. 693; 11 Ency. Pl. 
Pr. 510, 511; Ragland v. Wisrock, 61 Tex. 391; Hibernia Sav. L. Soc. v. Churchill, 128 Cal. 633, 61 P. 278, 79 Am. St. Rep. 73; Van Gorden v. Ormsby Bros.  Co., 55 Iowa, 657,8 N.W. 625; Cahn v. Ford, 42 La. Ann. 965, 8 So. 477;Mathews v. Savings Union Bank  Trust Co., 43 Cal. App. 45,184 P. 418; Martin v. Lawrence, 156 Cal. 191, 103 P. 913;Stern  Goodman Inv. Co. v. Danziger, 206 Cal. 456,274 P. 748.) *Page 155 
This proceeding invokes the supervisory power of this court to annul an order of the district court. The order complained of was entered in an action brought on June 20, 1931, by Ke-Sun Oil Company, as plaintiff, against Sunburst Oil  Refining Company, Ferdig Oil Company and Oil Well Supply Company, defendants.
The suit was one to quiet title. The defendants Sunburst Oil 
Refining Company and Oil Well Supply Company defaulted. The default of the latter company was entered on July 28. The Ferdig Oil Company appeared in the action first by demurrer and later by answer, and the cause was set for trial on September 25. On September 22 relator served and filed his petition for intervention, which, on his application, was brought on for hearing on September 25, the day of the trial. In his petition relator alleged that the Oil Well Supply Company had a lien upon the property described in the complaint, which was filed on December 20, 1928, while the Ferdig Company was the owner of the property; that it had brought action against the Ferdig Oil Company and Ray Nadeau to foreclose the lien in which a judgment of foreclosure had been entered on June 2, 1931, in the respondent court; and that pursuant to that judgment, all of the right, title, and interest of the Ferdig Oil Company in the property was sold on July 10 to relator at a sheriff's sale. It stated facts sufficient in all respects to constitute a cause of action, and to show that he would be adversely affected by the decree which might be rendered in the action.
The court denied relator's petition for intervention on September 25, and the cause proceeded to trial. The plaintiff prevailed and judgment was entered in its favor on September 28.
This application, filed September 27, 1932, questions the propriety of the court's order in denying relator's petition for intervention. Respondents in this proceeding have filed a motion *Page 156 
to dismiss the proceeding upon the ground that the application to this court was not timely, and that the facts set forth do not show any error committed by the respondent court or judge thereof. It is contended that, since an appeal from a judgment must be taken within six months after its entry (see. 9732, Rev. Codes 1921), by analogy the supervisory power of this court cannot be exercised after six months from the entry of judgment.
By section 2 of Article VIII of the Constitution, it is[1-4]  provided that the supreme court "shall have a general supervisory control over all inferior courts, under such regulations and limitations as may be prescribed by law." No regulations or limitations have been prescribed by law. The writ will issue to prevent a failure of justice through arbitrary and unlawful action where there is no right of appeal or other adequate remedy, and the case is exigent. (State ex rel.Hubbert v. District Court, 54 Mont. 472, 171 P. 784; Stateex rel. Coleman v. District Court, 51 Mont. 195, 149 P. 973;State ex rel. Carroll v. District Court, 50 Mont. 428,147 P. 612; State ex rel. Larsen v. District Court, 78 Mont. 435,254 P. 414.)
There being no time prescribed by law for invoking the remedy by supervisory control, it is in time if applied for within a reasonable time after the action sought to be remedied was taken. (11 C.J. 146.) Of necessity whether the application was made within a reasonable time must be decided on the facts and circumstances of each particular case. Here, though it has been held that there is no appeal from an order denying the right of intervention (Equity Co-op. Assn. v. Equity Co-op. MillingCo., 63 Mont. 26, 206 P. 349; State ex rel. Red Lodge-RosebudIrr. Dist. v. District Court, 75 Mont. 132, 242 P. 431), relator took an appeal from the order and from the judgment. The appeal was dismissed on May 24, 1932.
While a mistake in the law is no excuse sufficient to set aside a default (Mantle v. Casey, 31 Mont. 408, 78 P. 591), nor to extend the time for a writ of review (State ex rel.Blackman *Page 157 
v. Superior Court, 82 Wash. 134, 143 P. 889), still we think we should consider the fact that relator attempted to appeal in determining whether he has been guilty of unreasonable delay in applying for the writ. Likewise, after the appeal was dismissed, this court was in recess, and some members of the court know that this fact delayed relator for some time. Under all of the circumstances we cannot say that the relator has been guilty of laches in applying for the writ. In so holding we bear in mind that we determine the question not only by lapse of time, but by the lack of any showing of prejudice to the rights of the adverse party by reason of the delay. (State ex rel. Bailey v.Edwards, 40 Mont. 313, 106 P. 703; and compare 11 C.J. 146.)
Did the court err in denying relator's petition to intervene?[5-8]  Under our statute, any person may before trial intervene in an action or proceeding, who has an interest in the matter in litigation, in the success of either of the parties, or an interest against both. (Sec. 9088, Rev. Codes 1921.) It is contended that the court properly denied relator's petition to intervene because he did not tender a complaint for filing.
By section 9088 it is provided that "an intervention * * * is made by complaint, setting forth the grounds upon which the intervention rests, filed by leave of the court and served upon the parties to the action or proceeding who have not appeared, and upon the attorneys of the parties who have appeared." This statute contemplates that two things must occur in accomplishing an intervention. The first is that there shall be filed a petition asking leave to intervene. If leave be granted, the complaint must then be filed. The first can be filed as matter of course; the second only upon leave of court. The better practice is to serve a copy of the complaint in intervention with the petition asking leave to intervene, and, if leave is granted, the complaint should be filed forthwith.
We think, however, that petitioner should not have been denied the right to intervene for failure to tender a complaint in this case. The petition asking leave to intervene stated facts sufficient to show petitioner's interest in the property, and *Page 158 
showed the grounds upon which the intervention rests. It gave the adverse party as much information in that regard as could a complaint filed upon leave of court. Also, it does not appear that petitioner could or would not have filed his complaint immediately upon leave being granted.
The fact that the granting of leave to intervene would have delayed the trial and necessitated the framing of new issues (State Bank v. Schultze, 63 Mont. 410, 209 P. 599) would be no justification for denying the petition when it was presented before the trial, as here. (Barber v. Anderson, 73 Utah, 357,274 P. 136, and compare Paine v. Copper Belle Min. Co.,13 Ariz. 406, 114 P. 964; Engdahl v. Laverty, 110 Neb. 672,194 N.W. 862; People's Bank of Jacksonville v. Virginia Bridge Iron Co., 94 Fla. 474, 113 So. 680; Richfield Oil Co. v.Western Machinery Co., (C.C.A.) 279 Fed. 852.)
In any event, it does not necessarily appear that the trial of the case would have been delayed had petitioner been allowed to intervene. Prompted by a desire to do no injustice, and to render complete justice, courts allow the right of intervention in an equity case with liberality, when the petitioner's rights will be directly affected by the decree. (21 C.J. 341.)
Contention is also made that it was proper to deny the[9]  petition because, at the time it was filed, the Oil Well Supply Company was already in default and its default had been duly entered. Its default was not entered until more than two weeks after relator had purchased the property at the foreclosure sale. At the time its default was entered it had no interest in the property involved in the litigation. Also, relator here is not in privity with the Oil Well Supply Company so as to be precluded by a judgment rendered against it. (Westcott v.Catencamp, 190 Wis. 520, 209 N.W. 691.)
At the foreclosure sale relator became the successor in interest of the Ferdig Oil Company. (Hurxthal v. St. LawrenceBoom  Lumber Co., 53 W. Va. 87, 44 S.E. 520, 97 Am. St. Rep. 954.) It, and not the Oil Well Supply Company, was the alleged owner of the property prior to the judicial *Page 159 
sale. Upon that sale all the right, title and interest of the Ferdig Oil Company in the property involved, and not that of the Oil Well Supply Company, passed to relator. The Ferdig Oil Company was not in default at the time relator petitioned to intervene, but had filed its answer.
Subdivision 2, section 10558, Revised Codes 1921, provides: "The effect of a judgment or final order in an action or special proceeding before a court or judge of this state, or of the United States, having jurisdiction to pronounce the judgment or order, is as follows: * * * 2. In other cases, the judgment or order is, in respect to the matter directly adjudged, conclusive between the parties and their successors in interest by title subsequent to the commencement of the action or special proceeding, litigating for the same thing under the same title, and in the same capacity, provided they have notice, actual or constructive, of the pendency of the action or proceeding."
In view of this statute, if relator at the time he purchased the property had notice, actual or constructive, of the pendency of the action brought by the Ke-Sun Oil Company against the Ferdig Oil Company, he would be bound by any judgment rendered against the Ferdig Oil Company, his predecessor in interest. If he knew of the pendency of that action when he purchased the property, he would now be precluded from maintaining a suit to quiet title against the Ke-Sun Oil Company, and would be remediless. Under the circumstances he properly petitioned the court for leave to intervene before the trial, and before any judgment was rendered against the Ferdig Oil Company, in order to have his rights adjudicated. He should have been permitted to intervene in the action.
The case of Martin v. Lawrence, 156 Cal. 191,103 P. 913, cited and relied upon by respondents, is not in point here, for there the intervener had acquired his interest by direct conveyance from the party in default, and did so after the recording of a lis pendens in the action in which intervention was sought. And the case of Stern  Goodman Inv. Co. v. *Page 160 Danziger, 206 Cal. 456, 274 P. 748, was one in which the interveners claimed as successors to those in default.
The court erred in denying relator the right to intervene.
The writ will issue as prayed for.
MR. CHIEF JUSTICE CALLAWAY, MR. JUSTICE MATTHEWS, HONORABLE FRANK P. LEIPER, District Judge, sitting in place of MR. JUSTICE GALEN, disqualified, and HONORABLE LYMAN H. BENNETT, District Judge, sitting in place of MR. JUSTICE FORD, disqualified, concur.